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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

V. CaseNo. 3:24-cr- | 77-MM HSU
18 U.S.C. § 1349
OSIEL DE LA IZQUIERDO ZAMBRANO 18 U.S.C. § 1209
INDICTMENT

The Grand Jury charges:

COUNT ONE
(Conspiracy to Commit Wire Fraud)

A. Introduction

1. At all times material to this Indictment, 7-Eleven was a business that
operated internationally and throughout the United States to include in the
the Middle District of Florida.

2. Among other services offered by 7-Eleven to customers was the ability
to purchase gas. When purchasing gas 7-Eleven offered customers the ability to pay
for the gas at the pump, using various payment options to include paying by a credit
or debit card.

2 When paying for gas at the pump one option for customers was to
swipe their credit or debit card into a card reader on the front of the gas pump.

4. When customers swiped their credit or debit card into the card

reader, their card was scanned for the information on the magnetic stripe to include

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the cardholder’s name, card number, and expiration date. This scanning process sent
an electronic signal containing the card’s information from the gas pump point of
sale terminal to a credit card processor in order to approve the card for use in
purchasing gas at a 7-Eleven.

B. The Conspiracy

Ds Beginning on an unknown date, but not later than in or February 2024,
and continuing through and including in or about March 2024, in the Middle District
of Florida, and elsewhere, the defendant,

OSIEL DE LA IZQUIERDO ZAMBRANO,
did knowingly and willfully combine, conspire, confederate, and agree with others, both
known and unknown to the Grand Jury, to devise and attempt to devise a scheme and
artifice to defraud, and to obtain money and property by means of materially false and
fraudulent pretenses, representations, and promises, in violation of 18 U.S.C. § 1343.
C. Manner and Means of the Conspiracy

6. The manner and means by which the conspirators carried out the
conspiracy and scheme and artifice to defraud included, but were not limited to the
following:

a. it was part of the conspiracy in the Middle District of Florida,
and elsewhere, that the defendant and his conspirators obtained equipment for
building a skimmer to illegally obtain the credit and debit card information of

customers purchasing gas and paying at the gas pump;
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b. it was further part of the conspiracy that the defendant and his
conspirators obtained a video camera system to use with the skimmer;

Cc. it was further part of the conspiracy that the defendant and his
conspirators obtained a secure digital (SD) card for use with the video camera
system;

d. it was further part of the conspiracy that the defendant and his
conspirators obtained tools and other items for the purpose of installing the skimmer
and video camera system on a gas pump at a 7-Eleven;

e. it was further part of the conspiracy that the defendant and his
conspirators rented a car to use when driving to a 7-Eleven to install the skimmer
and video camera system;

f. it was further part of the conspiracy that the defendant and his
conspirators drove to a 7-Eleven in Nassau County, Florida, in a rented car for the
purpose of installing a skimmer and video camera system on a gas pump;

g. it was further part of the conspiracy that the defendant and his
conspirators installed a skimmer and video camera system on a gas pump at a
7-Eleven; and

h. it was further part of the conspiracy that the conspirators would
and did perform acts and make statements to hide and conceal and cause to be
hidden and concealed the purpose of the conspiracy and the acts committed in
furtherance thereof.

In violation of 18 U.S.C. § 1349.
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COUNT TWO
(Attempted Use or Control of a Scanning Receiver)

On or about the March 6, 2024, in the Middle District of Florida, and
elsewhere, the defendant,
OSIEL DE LA IZQUIERDO ZAMBRANO,
knowingly and with intent to defraud used and attempted to use, had control and
custody of, and possessed a scanning receiver, that is, a skimmer that could be used
to intercept a wire communication, said conduct affecting interstate and foreign

commerce.

In violation of 18 U.S.C. § 1029(a)(8), (b)(1), and (c)(1)(a)(ii).

FORFEITURE

1. The allegations contained in Counts One and Two are incorporated by
reference for the purpose of alleging forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(C),
982(a)(2)(B), 1029(c)(1)(C), and 28 U.S.C. § 2461(c).

2. Upon conviction of a conspiracy of the violation of 18 U.S.C. § 1343, in
violation of 18 U.S.C. § 1349, the defendant shall forfeit to the United States,
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), any property, real or
personal, which constitutes or is derived from proceeds traceable to the violation.

2 Upon conviction of a violation of 18 U.S.C. § 1029, the defendant shall
forfeit to the United States of America, pursuant to 18 U.S.C. § 982(a)(2)(B), any

property constituting, or derived from, proceeds the person obtained directly or
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indirectly, as a result of such violation, and pursuant to 18 U.S.C. § 1029(c)(1)(C),

any personal property used or intended to be used to commit the offense.

A. If any of the property described above, as a result of any act or omission

of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be
divided without difficulty;

the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. §§ 982(b)(1),

1029(c)(2), and 28 U.S.C. § 2461(c).

By:

ROGER B. HANDBERG
United States Attorney

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KEVIN C. FREIN
Assistant United States Attorney

MICHAEL J. COOLICAN
Assistant United States Attorney
Deputy Chief, Jacksonville Division

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FORM OBD-34
8/15/24 Revised No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA
VS.

OSIEL DE LA IZQUIERDO ZAMBRANO

INDICTMENT

Violations: 18 U.S.C. § 1349
18 U.S.C. § 1209

Filed in open court this Ibm day

of August, 2024.
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